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                       UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF FLORIDA


   CHLOE TSAKIRIS ALSTON,

         Plaintiff,

   v.                                                  Civil Action No. 1:20-cv-23013-BB

   CALCULATOR.COM; UNKNOWN
   REGISTRANT a/k/a RUTH YAKOBZON;
   STANDS4 LTD; and GODADDY.COM, LLC,

         Defendants.


                               STIPULATION OF DISMISSAL
                            OF STANDS4 LTD WITH PREJUDICE

        Pursuant to Fed R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Chloe Tsakiris Alston (“Plaintiff”)

 and Defendant Stands4 LTD (“Stands4”), through their respective counsel, hereby stipulate for

 dismissal of all claims against Defendant Stands4 LTD with prejudice.

        Stands4 hereby gives notice that it will no longer contest the Plaintiff’s ownership of the

 mark and domain name calculator.com, and Plaintiff hereby states that she is satisfied that

 Stands4 did not act in bad faith in relation to the acquisition of the calculator.com domain name.

        All costs and attorney’s fees will be paid by the party incurring the same.


        Dated: August 13, 2020


  By:       /s/ Rafael Recalde                                /s/ David E. Weslow
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                                              Stands4 LTD
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                                 CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this

 13th day of August, 2020 via e-service to:

        Lydecker Diaz, attn.: Joan Carlos Wizel, jcw@lydeckerdiaz.com;

        Wiley Rein LLP, attn.: David E. Weslow and Ari S. Meltzer, dweslow@wiley.law;

 ameltzer@wiley.law



                                                  /s/ Rafael Recalde
                                                  Rafael Recalde, Esq.
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